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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

KUNTA KINTE GOREE,

Defendant.                                          No. 05-CR-30015-06-DRH

                                      ORDER

HERNDON, District Judge:

             Upon oral motion of the government, the Court hereby DISMISSES with

prejudice the charges set forth in Count 9 of the indictment (Doc. 12) as they relate

to Goree.

             IT IS SO ORDERED.

             Signed this10th day of February, 2006.




                                             /s/        David RHerndon
                                             United States District Judge
